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                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION


                                              )
SHALONDA GREEN AND                            )
HENRY GREEN                                   )
    Plaintiffs,                               )
                                              )
v.                                            ) Civil Action No. 4:13-cv-02012
                                              )
ALLIANCE SERVICES                             )
     Defendant,                               )
                                              )




COMPLAINT AND DEMAND FOR JURY TRIAL



                                    INTRODUCTION


1. This is an action for actual and statutory damages brought by plaintiffs Shalonda

Green and Henry Green, individual consumers, against Defendant’s violations of the law,

including, but not limited to, violations of the Fair Debt Collection Practices Act, 15

U.S.C. § 1692 et seq. (hereinafter ‘‘FDCPA’’) which prohibits debt collectors from

engaging in abusive, deceptive, and unfair practices.



                                        PARTIES


2. Plaintiff Shalonda Green (hereinafter “Shalonda”) is a consumer, a natural person

allegedly obligated to pay any debt, and a citizen of the United States of America who
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presently resides in the following County, in the following state: Harris County, in the

state of Texas.



3. Plaintiff Henry Green (hereinafter “Henry”) is a consumer, a natural person allegedly

obligated to pay any debt, and a citizen of the United States of America who presently

resides in the following County, in the following state: Harris County, in the state of

Texas.



4. Defendant Alliance Services (hereinafter “Defendant Alliance”) is a citizen of the

United States of America and is a collection agency and corporation engaged in the

business of collecting debt in this state with its principal place of business located in the

following County, in the following state: Mecklenburg County, in the state of North

Carolina.



5. Plaintiffs are informed and believe, and thereon allege, that Defendant uses

instrumentalities of interstate commerce or the mails in any business, the principal

purpose of which being the collection of debts. Defendant is engaged in the collection of

debts from consumers using the mail, electronic mail, facsimile, and telephone, and

regularly collects or attempts to collect, directly or indirectly, debts owed or due or

alleged to be owed or due another, being a ‘‘debt collector’’ as defined by the FDCPA,

15 U.S.C. § 1692a(6).
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6. At all relevant times, Defendant acted through its duly authorized agents, employees,

officers, members, directors, heirs, successors, assigns, principals, trustees, sureties,

subrogees, representatives, and insurers.



                                      JURISDICTION



Jurisdiction is asserted pursuant to the following statutory authorities:



7. Jurisdiction of this court arises under 15 U.S.C. § 1692k(d), which states that such

actions may be brought and heard before, “[A]ny appropriate United States district court

without regard to the amount in controversy,” and also under 28 U.S.C. § 1337.



8. Venue in this District is proper pursuant to 28 U.S.C. § 1391(b)(2) in that a substantial

part of the events or omissions giving rise to the claims occurred here. Because

Defendant transacts business here, personal jurisdiction is established.




                               FACTUAL ALLEGATIONS


Case background:



9. Sometime before 2013, Plaintiff, Henry Green, incurred a financial obligation that was

primarily for personal, family, or household purposes and is therefore a ‘debt’, as that

term is defined by the FDCPA, 15 U.S.C. § 1692a(5).
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10. Upon information and belief, at some point the alleged debt was consigned, placed or

otherwise transferred to Defendant for collection from Henry.



11. The debt that Defendant is attempting to collect on is an alleged obligation of a

consumer to pay money arising out of a transaction in which the money, property,

insurance or services which are the subject of the transaction are primarily for personal,

family, or household purposes, whether or not such obligation has been reduced to

judgment, as, again, defined by the FDCPA, 15 U.S.C. § 1692a(5).



12. Defendant then, within one year prior to the filing of this complaint, began

contacting Shalonda, who is Henry’s wife, and placing collection calls to Shalonda prior

to July 10, 2013; seeking and demanding payment for an alleged consumer debt owed

under an account number.



13. Within one year prior to the filing of this complaint, Defendant, through its

representative who identified himself as ‘George Lewis’, called and left a voicemail in an

attempt to collect on the alleged debt of Henry, stating that he was from Harris County,

where Shalonda and Henry live, when he was not. Defendant on another occasion told

Shalonda she could call another number since she was Henry’s wife, and it had ‘legal

sealed documents’ for her husband, when it did not. Defendant’s conversations with

Shalonda, messages, and calls were “communications” as defined by 15 U.S.C. §

1692a(2). They were in violation of the FDCPA, including but not limited to 15 U.S.C.

§§1692d, §1692e, §1692e(5), §1692e(10), and §1692f.
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14. When Shalonda called that number, she spoke with a representative for Defendant

who identified himself as ‘Harry Davis’, and told her that since she was, again, Henry’s

wife, he would let her know the following information, that a) Henry had three charges

against him for check fraud, b) Henry had two other charges against him, c) Henry would

have to get a lawyer to fight the charges and pay $1500.00 in court costs plus ‘fines’

related to the alleged debt, and d) the total ‘penalty’ was $3000.00 but the lawyer would

settle for $1,300.00 out of court or ‘it’ would go on Henry’s record. Defendant stated

that Shalonda was responsible for the alleged debt and had to pay it that day, when it

knew that Shalonda was not, and made false and misleading statements as mentioned

above to Shalonda, with the intention that she relay them to Henry. Defendant’s

conversations with Shalonda, messages, and calls, which were in connection with its

attempts to collect on Henry’s alleged debt, were “communications” as defined by 15

U.S.C. § 1692a(2). They were in violation of the FDCPA, including but not limited to 15

U.S.C. §§1692d, §1692e, §1692e(5), §1692e(10), and §1692f.



15. Within one year prior to the filing of this complaint, Defendant left a voicemail

communication for Shalonda in which it did not state that it was a debt collector,

attempting to collect on an alleged debt, and that any information obtained would be used

for that purpose. This was a conversations were “communications” as defined by 15

U.S.C. § 1692a(2). They were in violation of the FDCPA, including but not limited to 15

U.S.C. §§1692d, §1692e, §1692e(11), and §1692f.
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                                      SUMMARY



16. All of the above-described collection communications made to and in regards to

Plaintiffs Shalonda Green and Henry Green by this individual Defendant and other

collection employees employed by Defendant Alliance Services were made in violation

of numerous and multiple provisions of the FDCPA, including but not limited to all of the

provisions of the FDCPA cited herein.



17. The above-detailed conduct by this Defendant of harassing Shalonda and Henry in an

effort to collect this debt was a violation of multiple provisions of the FDCPA, including

but not limited to all of the above mentioned provisions of the FDCPA.



18. As a result of the acts alleged above, Defendant caused Shalonda and Henry to

become very upset because of the illegal manner in which this debt was collected by this

Defendant.



19. Shalonda and Henry suffered actual damages as a result of these illegal collection

communications by this Defendant in the form of anger, anxiety, emotional distress, fear,

frustration, upset, amongst other negative emotions.



20. Defendant’s illegal abusive collection communications as more fully described above

were the direct and proximate cause of emotional distress on the part of Shalonda and

Henry.
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                       RESPONDEAT SUPERIOR LIABILITY



21. The acts or omissions of this individual Defendant, and the other debt collectors

employed as agents by Defendant Alliance Services who communicated with Plaintiffs as

more further described herein, were committed within the time and space limits of their

agency relationship with their principal, Defendant Alliance Services.



22. The acts and omissions by this individual Defendant and these other debt collectors

were incidental to, or of the same general nature as, the responsibilities these agents were

authorized to perform by Defendant Alliance Services in collecting consumer debts.



23. By committing these acts and omissions against Shalonda and Henry, this individual

Defendant and these other debt collectors were motivated to benefit their principal,

Defendant Alliance Services.



24. Defendant Alliance Services is therefore liable to Shalonda and Henry through the

Doctrine of Respondeat Superior for the intentional and negligent acts, errors, and

omissions done in violation of state and federal law by its collection employees,

including but not limited to violations of the FDCPA, in their attempts to collect this debt

by communicating with Shalonda and Henry.
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                           CLAIM FOR RELIEF
                  AND SUPPORTING FACTUAL ALLEGATIONS


25. Shalonda and Henry repeat, reallege, and incorporate the averments contained in all

of the above paragraphs of their complaint as though fully set forth herein.



26. Defendant violated the FDCPA. The foregoing acts and omissions of Defendant and

its agents constitute numerous and multiple violations of the FDCPA including, but not

limited to, each and every one of the provisions of the FDCPA, 15 U.S.C. § 1692 et seq.,

cited above, with respect to Shalonda and Henry.



27. Defendant’s acts as described above were done intentionally with the purpose of

coercing Shalonda and Henry to pay the alleged debt.



28. As a result of the foregoing violations of the FDCPA, Defendant is liable to Shalonda

and Henry for actual damages, statutory damages, and costs and attorney fees.
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                                REQUEST FOR RELIEF



WHEREFORE, Plaintiffs Shalonda Green and Henry Green respectfully request that

judgment be entered against Defendant for the following:



A. Actual damages from Defendant pursuant to 15 U.S.C. § 1692k(a)(1) for the

emotional distress suffered as a result of the intentional and/or negligent FDCPA

violations, in amounts to be determined at trial and for Plaintiffs.



B. Statutory damages of $1000.00 from Defendant pursuant to 15 U.S.C. §

1692k(a)(2)(A).



C. Costs and reasonable attorney fees from Defendant and for Plaintiffs pursuant to both

15 U.S.C. § 1692k(a)(3).



D. For such other and further relief as the Court may deem just and proper.


Dated: July 10, 2013                   RESPECTFULLY SUBMITTED,

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                             DEMAND FOR JURY TRIAL

       Please take notice that Plaintiffs Shalonda Green and Henry Green demand trial

by jury in this action on all issues so triable. US Const. amend. 7. Fed.R.Civ.P. 38.
